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                                                THE CITY OF NEW YORK
Hon. Sylvia O. Hinds-Radix                     LAW DEPARTMENT                                     MICHELLE L. MOSHE
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Corporation Counsel                                100 CHURCH STREET                           Email: mimoshe@law.nyc.gov
                                                   NEW YORK, NY 10007




                                                                        April 19, 2024

         Magistrate Judge Lois Bloom
         United States District Judge
         Eastern District of New York
         225 Cadman Plaza East
         Brooklyn, New York 11201

                             Re: NEW YORK CITY BAT TOURS, LLC and EDWARD MATTIACE, as
                                 Owner of the 36’ uninspected passenger vessel “Honcho” bearing Hull
                                 Number HEB00069G858;
                                 Case No. 1:22-cv-07383-NGG-LB


         Dear Magistrate Judge Bloom:
         Pursuant to the Order dated April 9, 2024, the City submits this status letter on behalf of all
         parties. The parties have agreed to proceed with a private mediation before Shelley Rossoff
         Olsen, Esq., and have resolved the issues regarding the mediation fees. We are checking with
         Ms. Olsen’s availability and will select a date that is convenient to all parties.
         Please let me know if you need any further information.
         Thank you.
                                                               Respectfully submitted,




                                                               Michelle L. Moshe
                                                               Assistant Corporation Counsel


         cc: All counsel of record (via ECF)
